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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
      Plaintiff,                                          Criminal Case No. 21-cr-00195

 vs.

 DEBORAH SANDOVAL                                         DEFENDANT SALVADOR
 SALVADOR SANDOVAL, JR.,                               SANDOVAL’S NOTICE OF SELF-
      Defendants.                                              DEFENSE


       COMES NOW, Defendant Salvador Sandoval, Jr., by and through counsel, and hereby

gives Notice to the Government of his intention to raise the affirmative defense of self-defense

(defense of another).


RESPECTFULLY SUBMITTED:                              KUTMUS, PENNINGTON & HOOK, PC

                                                            /s/ William Kutmus
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                                                     ATTORNEYS FOR DEFENDANT
                                                     SALVADOR SANDOVAL, JR.

                                CERTIFICATE OF SERVICE

       I hereby declare that on July 19, 2022, I electronically filed the foregoing with the Clerk
of Court using the ECF system which will send notification of such filing to the following:

Mr. Louis Manzo
Department of Justice
1400 New York Avenue NW
Washington, DC 20002
                                                     /s/ Julie Roberts
